                     Case 22-11068-JTD        Doc 1539        Filed 05/30/23        Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)



DEBTORS’ STATEMENT OF PAYMENT OF ORDINARY COURSE PROFESSIONALS

                     PLEASE TAKE NOTICE that on January 9, 2023, the Court entered the Order

Authorizing Procedures to Retain Compensate and Reimburse Professionals Utilized in the

Ordinary Course of Business [D.I. 432] (the “OCP Order”). 2

                     PLEASE TAKE FURTHER NOTICE that paragraph 3(h) of the OCP Order

provides that, within 30 calendar days after the end of, and with respect to, each full three month

period after the Petition Date, the Debtors shall file a statement that includes: (i) the name of the

OCP; (ii) the amounts paid as compensation for services rendered and reimbursement of

expenses by that OCP for each month during the reported quarter; and (iii) a general description

of the services rendered by such OCP (the “Quarterly Statement”).

                     PLEASE TAKE FURTHER NOTICE that the Quarterly Statement for the

period of February 1, 2023 through April 30, 2023 is attached hereto as Exhibit A.




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the OCP Order.


4876-9658-7366 v.3
                     Case 22-11068-JTD   Doc 1539    Filed 05/30/23   Page 2 of 2




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4876-9658-7366 v.3
